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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


NIC SALOMON,

              Plaintiff,

              vs.                               Civil Action No. 3:15-CV-00666-M

KROENKE SPORTS & ENTERTAINMENT,
LLC, OUTDOOR CHANNEL HOLDINGS,
INC. AND PACIFIC NORTHERN CAPITAL
LLC,

              Defendants.



APPENDIX IN SUPPORT OF PLAINTIFF NIC SALOMON’S BRIEF IN OPPOSITION
TO DEFENDANTS KROENKE SPORTS & ENTERTAINMENT, LLC AND OUTDOOR
  CHANNEL HOLDINGS, INC.’S MOTION PURSUANT TO FED. R. EVID. 702 TO
 EXCLUDE TESTIMONY OF KEVIN KREITZMAN AND REQUEST FOR HEARING


Exhibit No.         App. No.                      Document Description

     1          App.0001-5     April 17, 2012 Non-Disclosure Agreement
                               [Salomon000001-4]
     2          App.0006-8     September 28, 2012 preliminary Letter of Interest to Tim
                               McQuay from Kelly R. Holowaty [004096-4097]
     3                         Excerpts of February 12, 2013 FORM DEFM14A Proxy
              App.0009-29      Statement of Outdoor Channel Holdings Inc. Regarding
                               Proposed Plan of Merger With InterMedia Outdoor Holdings,
                               Inc. (Depo. Ex. 367) [KSE/OC:028348-28356, 28436-28446]
     4                         February 26, 2013 e-mail string, with attachments, from T.
              App.0030-36      McQuay to J. Holowaty, K. Holowaty and N. Salomon re
                               Revised PNC Term Sheet [KSE/OC:000240-245]
     5                         February 27, 2013 e-mail string, with attachments, from J.
              App.0037-43      Holowaty to T. McQuay re signed Revised PNC Term Sheet
                               [KSE/OC:000255-260]



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     6                       February 26, 2013 Letter to T. McQuay re revised Term Sheet
             App.0044-48     (Depo. Ex. 302) [KSE/OC:000947-950]
     7                       February 27, 2013 press release entitled: KSE Delivers
             App.0049-53     Proposal to OUTD (Depo. Ex. 300) [KSE/OC030880-30883]
     8                       March 5, 2013 e-mail, with attachments, from T. McQuay to J.
             App.0054-55     Holowaty, K. Holowaty and N. Salomon re Aerial cameras
                             [KSE/OC:000273]
     9                       March 7, 2013 e-mail, with attachments, from T. Hornish to
             App.0056-59     group of 18 individuals re press release [KSE/OC:000275-277]
    10                       March 15, 2013 e-mail string, with attachments, from J.
             App.0060-61     Holowaty to T. McQuay re APA Comments
                             [KSE/OC:000303]
    11                       March 18, 2013 e-mail string from T. McQuay to J. Holowaty,
             App.0062-64     K. Holowaty and N. Salomon re Outdoor Channel’s responses
                             to your markup of the APA [KSE/OC:000367-368]
    12                       March 21, 2013 letter amendment to Pacific Northern Capital
             App.0065-67     [KSE/OC:028341-28342]
    13                       March 21, 2013 e-mail string from J. Martin to D. Gluck re
             App.0068-70     Outdoor (Depo. Ex. 305) [KSE/OC:052782-52783]
    14                       Review, Analysis and Recommendation Re Aerial Camera
             App.0071-75     Business (Depo. Ex. 306) [KSE/OC:000608-611]
    15                       March 25, 2013 e-mail string from J. Holowaty to N. Salomon
             App.0076-78     re Update [Salomon000067-68]
    16                       March 27, 2013 e-mail string from T. McQuay to F. Penafiel,
             App.0079-81     R. Campbell, C. Lee and T. Hornish re Follow Up Executed
                             LOI [KSE/OC:061353-61354]
    17                       April 15, 2013 e-mail string from N. Salomon to J. Holowaty
             App.0082-85     re Amendment to PNC LOI-3-21-13 [Salomon002316-18]
    18                       April 30, 2013 e-mail string from T. Hornish to D. Gluck re
             App.0086-95     Skycam product approval request for PICO (Depo. Ex. 311)
                             [KSE/OC:052812-52819]
    19                       May 17, 2013 e-mail, with attachments, from K. Hopkins to C.
             App.0096-99     Lee, R. Brown, T. Allen and T. Hornish re Kroenke
                             Acquisition press release cross time (Depo. Ex. 348)
                             [KSE/OC:062208-62210]
    20                       May 17, 2013 e-mail, with attachments, from N. Salomon to
             App.0100-104    D. Gluck re NFL/SKYCAM – Confidential Executive
                             Summary (Depo. Ex. 314) [KSE/OC:00413-416]




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    21                       July 3, 2013 e-mail string, with attachments, from B. Glazer to
             App.0105-116    S. Long re Aerial Camera Business (Depo. Ex. 351)
                             [KSE/OC:031070-31080]
    22                       August 6, 2013 e-mail, with attachments, from N. Salomon to
             App.0117-122    J. Martin, J. Liberatore, and D. Gluck (Depo. Ex. 333)
                             [KSE/OC:052705-52709]
    23                       December 18, 2017 Answers of Kroenke Sports &
             App.0123-137    Entertainment, LLC to Plaintiff Nick Salomon’s First Set of
                             Interrogatories
    24                       November 15, 2012 OUTD Disclosure Schedule
             App.0138-140    [KSE/OC:029563 and KSE/OC:029654]
    25                       March 22, 2013 e-mail string from T. Allen to T. Hornish re
             App.0141-143    Deferred Revenues – ESPN (Depo. Ex. 343)
                             [KSE/OC:043020-43021]
    26                       September 14, 2018 Expert Report of Kevin Kreitzman, MBA
             App.0144-201
    27                       October 12, 2018 Rebuttal Expert Report of Karyl M. Van
             App.0202-241    Tassel, CPA
    28                       October 31, 2018 Answers of Kroenke Sports &
             App.0242-251    Entertainment, LLC and Outdoor Channel Holdings, Inc. to
                             Plaintiff Nic Salomon’s Written Deposition Questions
    29                       Excerpts from the transcript of deposition of David Gluck,
             App.0252-300    taken on August 22, 2018
    30                       Excerpts from the transcript of deposition of James Martin,
             App.0301-355    taken on August 30, 2018
    31                       Excerpts from transcript of deposition of Scott M. Long, taken
             App.0356-362    on September 5, 2018
    32                       Declaration of Nic Salomon
             App.0363-369
    33                       Declaration of Ahmed Ibrahim
             App.0370-375



                                        Respectfully submitted,

Dated: December 7, 2018         By:     /s/ Ahmed Ibrahim
                                        Michael J. Avenatti (admitted Pro Hac Vice)
                                        CA Bar Number 206929
                                        Ahmed Ibrahim (admitted Pro Hac Vice)
                                        CA Bar Number: 238739
                                        AVENATTI LLP


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                                       520 Newport Center Drive, Suite 1400
                                       Newport Beach, CA 92660
                                       Tel: (949) 706-7000
                                       Email: mavenatti@eaganavenatti.com
                                              aibrahim@eaganavenatti.com
                                       and

                                       MAURICE WUTSCHER LLP
                                       Keith Wier, Esq. State Bar No. 21436100
                                       6136 Frisco Square Blvd., Suite 400
                                       Frisco, Texas 75035
                                       Tel: (469) 375-6792
                                       Email: kwier@mauricewutscher.com
                                       ATTORNEYS FOR PLAINTIFF NIC SALOMON




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                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of this filed pleading is

being served upon all counsel of record through the Court’s ECF delivery system, as provided by

the Local Rules at or shortly after the time and date of filing.

Dated: December 7, 2018                        /s/ Ahmed Ibrahim
                                               Michael J. Avenatti (admitted Pro Hac Vice)
                                               CA Bar Number 206929
                                               Ahmed Ibrahim (admitted Pro Hac Vice)
                                               CA Bar Number: 238739
                                               AVENATTI LLP
                                               520 Newport Center Drive, Suite 1400
                                               Newport Beach, CA 92660
                                               Tel: (949) 706-7000
                                               Email: mavenatti@eaganavenatti.com
                                                      aibrahim@eaganavenatti.com




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